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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-01073-CMA-GPG


   THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   AARON FLECK, and BARBARA G. FLECK, on behalf of themselves and all others similarly
   situated,

   Plaintiffs,
   v.
   FIRST WESTERN TRUST BANK,
   CHARLES BANTIS, and
   ANDREW GODFREY,
   Defendants.


     RESPONSE TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT


           Plaintiffs, by and through their attorneys, Podoll & Podoll, P.C., respond to Defendants’

   Motion for Partial Summary Judgment as follows:

                                      I.      INTRODUCTION

           The Complaint in this action pleads in great factual detail how a bank, hungry for business

   oversold its fiduciary investment management capabilities to induce the Plaintiffs, Aaron H. Fleck

   and Barbara G. Fleck as trustees of the Aaron H. Fleck Revocable Trust and the Barbara G. Fleck

   Revocable Trust to allow Defendant First Western Trust Bank to manage $8 million of liquid

   assets belonging to the Trusts.
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          In 2016, Defendant First Western Trust Bank (“Bank”) was a startup business in Aspen

   where Plaintiffs resided, The Bank had a business model of being a local depository and loan

   institution and also to provide investment advisor services. The Aspen branch of the Bank had no

   capacity to provide investment advisor services. It had an affiliate in Denver who would provide

   such services and divide the associated revenue. But advertising that arrangement wouldn’t get

   the Bank trust clients, especially in Aspen.

          Instead, the Bank advertised:

          Locally, we have a wealth advisor;

          We have a team, not just one person, working for your benefit so you gain access to the

   best financial planning minds in the business;

          In addition to designing your personal portfolio, our experienced trust investment

   management service teams can also serve as an investment advisor to your trusts.

          But that wasn’t all. In addition to the advertising given to all potential customers,

   Defendant Bank assured the Plaintiffs as follows:

          The local Wealth Management Advisor and the local Assistant Account Manager will

   follow your portfolio;

          We believe income of $400,000 to $500,000 per year would be ascertainable for your

   portfolio;

          We believe over time an overall return of 6.2% would be ascertainable for your portfolio;

          Our track record is on par with anyone in the industry;

          Our trust and wealth management teams are held to a fiduciary standard, meaning that we

   are committed to ensuring that your wishes are carried out.




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           However, the truth was far different than these representations. If the Bank were selling

   used cars, perhaps such misrepresentations could be tolerable. However, the Bank was selling

   trust and investment expertise. Its false representations induced the Plaintiffs to entrust $8 million

   to the professional team depicted by the Bank. What the Plaintiffs could not know was:

           The Wealth Management Advisor did not advise anyone about wealth, or anything else

   for that matter. The Wealth Management Advisor’s responsibility was solely to develop business

   for the Defendant Bank;

           The Assistant Account Manager had nothing to do with the investments made by the

   Bank’s trust department, or evaluating the performance of the trust department;

           There was no team making decisions about the investments of the Flecks’ portfolio, there

   was just one Account Manager;

           No one designed a personal portfolio for the Fleck Trusts;

           No one functioned as an investment advisor to the Fleck Trusts;

           Instead, an investment committee dictated available funds that an account manager could

   select for investment of the Plaintiffs’ assets;

           The account manager met with Aaron Fleck only once;

           The Bank’s idea of fiduciary obligations was that the customer’s interests were put first,

   unless, of course, they conflicted with the Bank’s interests.

           The targeted returns of $400,000 – $500,000 per year of income represented income

   returns of 5% to 6.25% of total funds under management, and in 2018 were unattainable in a

   balanced portfolio with conservative or moderate risk.

           In short, everything that was told to the Flecks was untrue, grossly overstated, but material

   to the Flecks’ decision;



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          Still, without trial, the Bank moves for summary judgment concentrating on specific titles

   of investment advisors rather than the falsehoods told to the Plaintiffs.

                II.     RESPONSE TO DEFENDANTS’ UNCONTESTED FACTS

   1.     Undisputed.

   2.     Undisputed.

   3.     Undisputed.

   4.     Undisputed.

   5.     Undisputed.

   6.     Undisputed.

   7.     Undisputed.

   8.      Disputed. Mr. Fleck testified that at the February meeting, FWTB’s officers “talk[ed] about
   their philosophies … because they knew [Mr. Fleck] was talking to three or four other money
   managers and they were trying to sell [the Flecks] the right to manage [the trusts].” (Fleck Depo.,
   106:14-106:17, 3/1/2022.) Mr. Fleck chose to have the trusts’ assets managed by a third party
   because of his failing health. (Id. at 31:13-19.)

   9.     Disputed. Mr. Fleck did learn that Doug Barker would be the portfolio manager, but not
   that Mr. Barker’s selections would be curtailed by pre-approved securities.

   10.    Undisputed that the Bank prepared an Investment Policy Statement (“IPS”). Disputed that
   this was based on the Flecks’ input from the February 2018 Meeting. (See Declaration of Aaron
   Fleck, Exhibit D, hereto.)

   11.    Undisputed.

   12.     Disputed. This oversimplifies and mischaracterizes Mr. Fleck’s testimony and the reasons
   why he ultimately hired FWTB. It is undisputed that Mr. Bantis assisted the Flecks in obtaining a
   bridge loan and Mr. Fleck agreed to “give [Mr. Bantis] some money to manage through [FWTB’s]
   trust department.” (Fleck Depo., 101:9-102:5, 3/1/2022.) However, the ultimate decision to hire
   FWTB was based on, inter alia, the numerous representations made by the bank to Mr. Fleck
   before he entrusted it with management of the trust assets. (See Declaration of Aaron Fleck, Exhibit
   D, hereto.) This includes their representations regarding how the assets would be invested. (Sawyer
   Depo., 80:25-82:16, 3/9/2022)

   13.    Undisputed that the Flecks executed the IPS and other documents on May 8, 2018.
   Disputed that the Fleck’s “approved” any of the documents. Mr. Fleck testified that he told FWTB



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   of his objections to the IPS when he executed it and subsequently voiced his objection to the
   Bank’s investment plan. (Fleck Depo., 111:16-112:2, 3/1/2022)

   14.    Disputed. The IPS was not jointly developed by FWTB and the Flecks. Mr. Fleck testified
   regarding this provision:

                    Q Okay. And you agreed by signing this Investment Policy
                  Statement that this statement had been jointly developed by you and
                  First Western, right?

                     A No, I agreed that that's what they were proposing, but I told
                  them how I felt. They were there to sign it, they didn't change it. So
                  I gave them six months to see what they -- how they were gonna
                  manage it and whether they were going to listen to what I said over
                  and over every time I went into the office. I said, do you still have
                  185 securities and, I guess, 50 or 80 in the second account and he
                  never answered me. When I finally got their quarterly statement, I
                  think it was in November, when I saw what they did, I complimented
                  on the tax loss and told them to take them out.

   (Fleck depo, 112:16-113:6, 3/1/2022.)

   15.    The IPS speaks for itself.

   16.    The IPS speaks for itself.

   17.    The IPS speaks for itself. Mr. Sawyer also testified that these asset classes and allocation
   ranges “are guidelines; they're not fixed limits.” (Sawyer Depo., 80:15-80:15, 3/9/2022.)

   18.    Undisputed.

   19.    The IPS speaks for itself.

   20.    The Investment Agreement speaks for itself.

   21.    Undisputed.

   22.    The IPS speaks for itself.

   23.    The IPS speaks for itself.

   24.    The Investment Agreement speaks for itself.

   25.    The Investment Agreement speaks for itself.

   26.    The Investment Agreement speaks for itself.

   27.    The Investment Agreement speaks for itself.


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   28.     Disputed. Mr. Fleck testified that he didn’t know or couldn’t recall whether he read certain
   provisions of the IPS before signing it and relied on the concurrent representations of FWTB’s
   officers. (Fleck Depo., 116:20-118:17, 3/1/2022.)

   29.    See id.

   30.      Paragraph 30 involves a question of law regarding the adequacy of Plaintiffs’ allegations
   of fraud which this Court has already addressed in denying the Bank’s motion to dismiss. [See
   ECF Nos. 47 & 50]. Plaintiffs dispute Defendants’ mischaracterization and oversimplification of
   their fraud claims. (See Fleck Declaration, Exhibit D, hereto.)

   31.    Disputed. Mr. Fleck testified that he didn’t recall “whether [the Bank] said [they had]
   professional money managers” and that he could not “recall…all the exact words they said or
   promised.” (Fleck Depo., 164:21-164:25, 3/1/2022.)

   32.    Undisputed.

   33.   Paragraph 33 states that “Mr. Fleck did not claim that FWTB does not employ professional
   money managers.”

           This is a double negative and confusing at best. Mr. Fleck stated in his deposition that he
   didn’t know whether or not FWTB employed professional money managers. (Fleck Depo., 167:6-
   167:8, 3/1/2022.)

   34.    Disputed. The Trusts’ investment account was to be managed by a team of professional
   wealth managers. In fact, all of the investment decisions were vested in only Mr. Barker.

   35.     Disputed. Although additional analysts may have been in the employ of the Bank, the
   Trusts were supposed to have a team of professional wealth managers who were skilled,
   sophisticated, and experienced and would be available to the Trusts to help design individual
   portfolios.

   36.    Undisputed.

   37.    Paragraph 37 states a legal conclusion to which no response is required.

   38.    Undisputed.

   39.    Undisputed.

   40.     It is undisputed that the Flecks met with FWTB officers on the dates reflected. Plaintiffs
   dispute that, for example, two meetings in the first eight months of portfolio management
   constitutes adequate and effective communication.

   41.    Undisputed.




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   42.    Disputed. Citi Private Bank never received the funds. (Fleck Depo., 167:24-168:23,
   3/1/2022.)

   43.    The Investment Agreement speaks for itself.

   44.    The Investment Agreement speaks for itself.

   45.    The Fee Agreement speaks for itself.

   46.    The Fee Agreement speaks for itself.

   47.    The Investment Agreement speaks for itself.

   48.    The Investment Agreement speaks for itself.

   49.    Undisputed.

   50.    Undisputed.

                                         III.    ARGUMENT

   A.     THE DISPUTED EVIDENCE PRESENTS GENUINE ISSUES OF MATERIAL
          FACT FOR TRIAL ON THE CLAIMS OF FRAUD

          The elements of fraudulent misrepresentation are:

                  (1) that the defendant made a false representation of a material fact;
                  (2) that the one making the representation knew it was false; (3) that
                  the person to whom the representation was made was ignorant of the
                  falsity; (4) that the representation was made with the intention that
                  it be acted upon; and (5) that the reliance resulted in damage to the
                  plaintiff.

   Bristol Bay Prods., LLC v. Lampack, 312 P.3d 1155, 1160 (Colo. 2013).

          Defendants ask for judgment without the necessity for a trial by contending that the

   undisputed evidence belies the claim that the Plaintiffs were deceived.

          Specifically, Defendants contend that the Plaintiffs were not told that the Bank employed

   Registered Investment Advisors or that its account managers were Professional Money Managers.

   While it is true that Aaron Fleck, whose age has passed the century mark, could not remember in




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   deposition the precise terms used by the Bank, that hardly is a valid excuse to ignore the significant

   fraud committed by the Bank.

          The Bank intentionally and repeatedly marketed its trust services as a team of investment

   professionals which would be at the disposal of the trust clients. In paragraph 27 of the First

   Amended Complaint, Plaintiffs alleged in part:

          FWTB promotes itself as follows:

                  At First Western Trust, we understand that much of building your
                  wealth involves protecting your family, creating a lasting legacy,
                  and ensuring the ability to live out the lifestyle you desire. Our
                  experienced teams are discipline in all areas of wealth management,
                  including wealth planning, trust and estates, investment
                  management, private banking, risk management insurance, and
                  mortgage services. We have a team, not just one person, working for
                  your benefit so that you gain access to the best financial planning
                  minds in the business.

          The Bank admitted these allegations in its Answer.

          In paragraph 28 of the First Amended Complaint, Plaintiffs alleged:

                  28. Regarding Trust Investment Management Services, FWTB
                  markets its management as follows:

                  In addition to designing your personal portfolio, our experienced
                  trust investment management service teams can also serve as an
                  investment advisor to your trusts. We are dedicated to supporting
                  your beneficiaries and building an [sic] trust investment
                  management plan that will help you leave a positive and lasting
                  legacy. (Emphasis added).

          The Bank admitted these allegations in its Answer.

          Bank employee Andrew Godfrey was credited with bringing the Flecks’ trust relationship

   to the Bank. Mr. Godfrey was a Wealth Management Advisor at the Bank. However, Mr. Godfrey

   had no expertise in wealth management and he never advised anyone of anything in wealth




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   management. Mr. Godfrey’s sole responsibilities at the Bank were to develop business. He was in

   sales, not investment management. See Godfrey deposition excerpt, attached as Exhibit A.

           Still, to sell the Flecks on the service level of the trust management department at the Bank,

   Mr. Godfrey represented that Mr. Barker would be the portfolio manager remotely, but that

   Mr. Godfrey and Mr. Van Domelen would be local contacts here in Aspen and would be the

   Flecks’ primary contacts to answer questions or help with the accounts. Id.

           However, Mr. Godfrey had no connection with the management of the Flecks’ trusts. While

   Mr. Van Domelen had the title of “Assistant Portfolio Manager”, he was providing clerical

   assistance to the remote portfolio manager and had no authority over the investment accounts. See

   Godfrey Depo. excerpts, Exhibit A hereto, and Sawyer Depo. excerpts, Exhibit B hereto. Neither

   Mr. Godfrey nor Mr. Van Domelen were a part of the vaunted wealth management team which

   would provide the Plaintiffs with access to the best financial management teams in the business.

           Whereas, the Bank represented that a team of investment professionals would design a

   personal portfolio for the Flecks’ trusts, the reality was that the Bank’s personalized portfolio was

   nothing more than a group of pre-arranged securities from a selection committee, including six

   funds managed by the First Western Funds Trust, an affiliate of the Bank. See Godfrey deposition

   exhibits, Exhibit A hereto, and Sawyer deposition excerpts, Exhibit B hereto. Three of the funds

   were fixed income funds, and three were equity funds. See Sawyer deposition excerpts, Exhibit B.

   The allocation of fund assets among the six different funds was a part of the “personalization” of

   a client’s portfolio, See Godfrey deposition excerpts, Exhibit A hereto.

           The Bank also represented to the Plaintiffs that there would be strong communication

   between client and the Bank’s Investment Advisors. In ¶ 35 of the First Amended Complaint, the

   Plaintiffs alleged:



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                 35. The Investment Policy Statement also provided:

                 On a no less than quarterly basis, you will receive a custodial
                 statement detailing your portfolio holdings. Performance is
                 calculated quarterly on both an absolute and relative basis as
                 compared to appropriate benchmark indices. First Western will
                 review your investment program with you periodically to determine
                 the continued feasibility of achieving your investment objectives
                 and the appropriateness of this IPS for achieving those objectives

         The Bank admitted these allegations in its Answer.

         However, the Bank was not set up to provide access to the best financial planning minds

  in the business, since any such minds were not available to provide advice to the Flecks or to

  design a portfolio for them. In reality, their remote Account Manager was charged with

  communicating with the Flecks. However, the remote financial manager was one hundred fifty

  miles away in Denver. Between May and December 2018, there was but one meeting between the

  Flecks and the remote financial manager. Far from a team of the best financial planning minds in

  the business, Plaintiffs trust administration was limited to a single person remotely allocating their

  assets among pre-selected stocks and funds.

         Mr. Sawyer was the Chief Investment Officer of the Bank. See Sawyer Depo. excerpts,

  Exhibit B hereto. Although Mr. Sawyer claimed to have managerial oversight of the Plaintiffs’

  accounts, his management was limited to looking at the results of the investments perhaps once a

  month for 10 minutes on his computer. Id. He also had meetings with the Account Manager at

  which they discussed all of the accounts under management with the manager, not specifically the

  Plaintiffs’ accounts. Id. The Account Manager didn’t report to Mr. Sawyer, the Chief Investment

  Officer. The Account Manager reported to the Denver Tech Center Market President, who in turn

  reported to the Regional Bank President. Id. Mr. Sawyer had no meetings with the Plaintiffs

  concerning the investment of their funds. Id.



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          The Bank represented that it was acting as the fiduciary of its trust department clients. In

  paragraph 31 of the First Amended Complaint, the Plaintiffs alleged:

                  31. In carrying out its services, FWTB represented that it was held
                  to a fiduciary standard:

                  At First Western Trust, our trust and wealth management teams are
                  held to a fiduciary standard, which means that we are committed to
                  ensuring that your wishes are carried out and that your loved ones
                  are taken care of to the best of our ability.

          The Bank admitted that the quoted language came from the Bank’s materials in its Answer.

          However, the Bank failed to disclose what it meant by its fiduciary duties. According to

  the President of the Aspen branch of the Bank, the Bank’s idea of fiduciary duties would put the

  interests of the trust client first, unless that conflicted with the priorities of the Bank. See Bantis

  Depo. excerpt, Exhibit C hereto. Accordingly, the fiduciary duties recognized by the bank

  wouldn’t put the interests of the trust client first at all. The interests of the client would always be

  subservient to the interests of the Bank. Id.

          This perhaps best sums up the relationship between the Bank and the Plaintiffs who

  entrusted $8 million of their assets to the Bank’s wealth management department. Fiduciary duties

  concerning loyalty, honesty, good faith, and diligence in performance were all sacrificed to the

  greater good of obtaining assets to manage.

          The Plaintiffs relied upon the sales pitch of the Bank, and their reliance was reasonable.

  The Bank’s lofty claims of a team of wealth management professionals designing a personalized

  portfolio for trust assets and access to the finest financial planning minds in the business were quite

  attractive. The problem was that none of this was true.

          The great void between the representations made by the Bank and the reality of the Bank’s

  trust management services present genuine issues of material fact for trial.



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         To prove the Plaintiffs’ claims for the fraudulent failure to disclose, the evidence is similar

  to the Bank’s false representations. The elements of a claim of fraudulent omission are:

                 (1) the concealment of a material existing fact that in equity and
                 good conscience should be disclosed; (2) knowledge on the part of
                 the party against whom the claim is asserted that such a fact is being
                 concealed; (3) ignorance of that fact on the part of the one from
                 whom the fact is concealed; (4) the intention that the concealment
                 be acted upon; and (5) action on the concealment resulting in
                 damages.

  BP Am. Prod. Co. v. Patterson, 263 P.3d 103, 109 (Colo. 2011).

         The Plaintiffs allege that the Bank failed to disclose that it had no cohesive and

  comprehensive investment strategy. The Bank failed to disclose that its team approach was largely

  made up. The Bank failed to disclose that its personalized investment portfolio consisted of

  preselected stocks and preselected funds, including 6 funds from a Bank affiliate.

         The Bank failed to disclose that it had no established means of effective communication

  with Trust department clients. The Bank failed to disclose that the Account Manager was not

  responsible to the Chief Investment Officer. The Bank failed to disclose that its Wealth

  Management Advisor was unqualified and provided no wealth management advice. The Bank

  failed to disclose that Plaintiffs’ local contacts had no authority over the trust accounts and that

  the assistant account manager was performing ministerial functions only. The Bank failed to

  disclose that its lack of established communications with trust clients made the Bank unable to

  respond to the requests or directives of the Plaintiffs, including the failure to harvest losses at

  year’s end. See Declaration of Aaron Fleck, Exhibit D hereto.

         These omissions were material. Id.

         The Bank had a duty to disclose these material facts to the Plaintiffs, both because they

  knew that the Plaintiffs had no knowledge of the facts and because the representations of the Bank



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  created false impressions in the minds of the Plaintiffs. See Bair v. Pub. Serv. Emps. Credit Union,

  709 P.2d 961, 962 (Colo. App. 1985); and Berger v. Sec. Pac. Info. Sys., Inc., 795 P.2d 1380, 1383

  (Colo. App. 1990) (Citing Cahill v. Readon, 85 Colo. 9, 273 P. 653 (1928)).

          The Bank intended that the Plaintiffs rely upon the omitted facts as demonstrated by their

  marketing materials, quoted in the First Amended Complaint. The Plaintiffs did rely upon the

  omitted facts. See Declaration of Aaron Fleck, Exhibit D hereto.

          The representations and omissions were significant and material. They went to the heart

  of the decision of the Plaintiffs to entrust the Bank with $8 million of their assets. These claims

  are not subject to summary judgment as Defendants contend merely because the Bank did or did

  not use the terms Registered Investment Advisor or Wealth Planning Professional to describe its

  employees.

  B.      PLAINTIFFS’ CLAIMS ARE NOT BARRED BY THE ECONOMIC LOSS RULE.

          The Bank also reprises the argument in its Motion to Dismiss, claiming that the claim of

  breach of fiduciary duty is barred by the economic loss rule. As before, the Bank recognizes that

  the economic loss rule bars tort claims which allege nothing more than the breach of a contractual

  duty.

          It is widely recognized that fiduciary duties have their basis in common law and are not

  contractually derived. Still, the Bank persists in claiming that no independent duty exists because

  the Investment Policy Statement (“IPS”) provides separate and exclusive fiduciary duties in the

  relationship between the Bank and its trust department client. The immediate problem with the

  Bank’s argument is that the IPS does not impose fiduciary duties, quasi fiduciary duties or any

  imaginable type of fiduciary duty. Rather, the Bank’s fiduciary duties in this relationship – the




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  duty of honesty, loyalty, good faith and allegiance to the purpose of the relationship – all come

  from the common law, not the Bank’s contracts.

         The language of the IPS, which Defendants fail to even include, does not describe any duty

  that could subsume the recognized independent duties of care that underlie Plaintiffs’ suit. The

  Bank cites as authority the holding of the Colorado Court of Appeals in Mid-Century Ins. Co. v.

  Hive Constr., 2023 COA 25. The issue in Mid-Century Ins. Co. was the failure to follow materials

  specifications in the contract. Mid-Century Ins. Co. v. HIVE Constr., 2023 COA 25 (Colo. App.

  2023). Defendants argue that the contract duty not to substitute materials in Mid-Century is

  analogous to independently recognized fiduciary duties or fraud duties. The duties in the Bank’s

  relationship arise from the common law, not the contract. The Bank only points to exculpatory

  language in its contract attempting to disclaim negligence. This does not encompass a fiduciary or

  fraud duty.

         “A party may be liable in tort for breaching an independent duty towards another, even

  where the relationship creating such a duty originates in the parties’ contract.” Hess Oil Virgin

  Islands Corp. v. UOP, Inc., 861 F.2d 1197, 1202 (10th Cir. 1988). See also Bermel v. Blueradios,

  Inc., 440 P.3d 1150, Footnote 6 (Colo. 2019). (“[W]e note that the economic loss rule generally

  should not be available to shield intentional tortfeasors from liability for misconduct that happens

  also to breach a contractual obligation.”)

         To bring the Plaintiffs’ tort claims within the reach of the economic loss rule, the Bank

  departs from the purpose of the rule which disallows claims where no independent duty exists. The

  Bank only claims that the particular violations of the breach of fiduciary duties are also violations

  of the contract. Such duplication does not implicate the economic loss rule. See Mcwhinney

  Centerra Lifestyle Ctr, LLC v. Poag & McEwen Lifestyle Centers – Centerra LLC, 486 P.3d 434,



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  454-455 (Colo.App. 2021). (“While the conduct underlying each of these claims may also support

  a breach of contract claim in this case, we are not persuaded that the economic loss rule should

  shield intentional tortfeasors from liability for misconduct that happens also to breach a contractual

  obligation.”) Further, as the Colorado Supreme Court observed:

                 Keller was thus integral to our recognition of the economic loss rule
                 in Colorado. As to the second, we see no reason to limit the
                 reasoning of Keller to the purchase of a product. The key in that case
                 is our recognition of an independent tort duty regarding negligent
                 misrepresentations inducing the contractual arrangement, not the
                 subject (that is, product or services) of the arrangement itself.

  Van Rees v. Unleaded Software, Inc., 2016 CO 51, P17.

         Plaintiffs’ claims extend far beyond the scope of any language found in the contracts. The

  Court previously addressed this issue in the context of Defendants’ Motion to Dismiss, finding

  that “Taking the allegations in the Complaint to be true, Plaintiffs allege claims regarding FWTB’s

  incompetence, lack of good faith, self-dealing, disloyalty, and failure to communicate, which goes

  beyond just a claim of mismanagement of the account.” ECF 47 at 9. Those claims persist in this

  case, and are not barred by the scope of the Bank’s contract.

         The claims here are not based upon contractual performance, such as the failure to follow

  the Bank’s published Investment Policy Statement. Rather the breach of fiduciary duties allege the

  failures of the Bank to discharge their fiduciary duties of honesty, loyalty, good faith and allegiance

  to the purpose of the relationship. In this case, the Bank’s wealth management structure ensured

  that communications would be ineffective, which in turn created the failure of the Bank to execute

  the instructions of the client to harvest his account losses at the end of the year. The poor

  performance of Plaintiffs’ accounts is explained by the Bank’s wealth management structure which

  isolated an Account Manager who was permitted to choose investments without consultation with

  either the client or the best minds in the industry to try to achieve the clients’ objectives. The poor


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  performance is further blamed upon the failure to pay any respect to the investment philosophies

  of the client, even while acknowledging that investments should be selected in conjunction with

  the client and regularly reviewed with the client. No such selection or review was performed. In

  fact, the Account Manager met with the Plaintiffs only once in eight months in 2018.

         The Bank asks the Court to reconsider its earlier ruling based upon the allegation that the

  breach of fiduciary duties may also be breaches of contract. The Bank misses the point. The alleged

  breaches of fiduciary duty are not based upon contractual duties. They are based upon common

  law duties when one party acts with the property of another. As the court previously noted, “The

  only actual affirmative duty arising from the contract is for Defendants to “give to the securities

  in its custody the same degree of care and protection which it gives to its own property.” To apply

  the economic loss rule, the Bank asks the Court to read language into the contract that is simply

  not there.” ECF 47 at 9. As such, the renewed argument for application of the economic loss rule

  is unavailing.

  C.     A BREACHING FIDUCIARY MUST DISGORGE FEES.

         The Bank argues that its fees were allowed by contract and since the contract is ambiguous,

  the Bank is entitled to summary judgment on the claims against it as they relate to fees.

         The Bank misunderstands the nature of the claims against it. A breaching fiduciary must

  disgorge his fees. See, e.g., Estate of Keenan v. Colo. State Bank & Trust, 252 P.3d 539 (Colo.

  App., 2011); and Hoff & Leigh v. Byler, 62 P.3d 1077 (Colo.App. 2002).

         A party who committed fraud may also be compelled to respond in damages. See Stamp

  v. Rippe, 483 P.2d 420 (Colo.App 1971) (Special damages are the natural and proximate result of

  the fraud).




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            That the fees collected by the Bank were authorized by contract is not determinative if the

  Bank breached its fiduciary duties or defrauded the Plaintiffs. In such circumstances, the fees may

  be proper measures of damages suffered by the Plaintiffs.

                                         IV.     CONCLUSION

            For the reasons expressed above, the Motion for Partial Summary Judgment should be

  denied.

            Dated: June 26, 2023

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 26, 2023, a true and correct copy of the foregoing was served
  via PACER/ECF upon the following:

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         I hereby certify that on June 26, 2023, a true and correct copy of the foregoing was served
  via email on Plaintiffs pursuant to D.C.COLO.LCivR 6.1(c).


                                              By:     s/Richard B. Podoll
                                                        Richard B. Podoll




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